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ELECTRONICALLY FILED

                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION
                                                    694-GNS
                                   CASE NO.: 16-cv-_____

FLORENCE WILSON, through her Daughter
and Power of Attorney, LINDA WILSON                                                  PLAINTIFF


v.                                 NOTICE OF REMOVAL


SPRINGFIELD HEALTH FACILITIES, LP,
d/b/a SPRINGFIELD NURSING AND REHABILITATION CENTER;
SPRINGFIELD HEALTH FACILITIES GP, LLC;
KENTUCKY PARTNERS MANAGEMENT, LLC;
PREFERRED CARE OF DELAWARE, INC.;
PREFERRED CARE PARTNERS MANAGEMENT GROUP, L.P.;
PCPMG, LLC; and
JAMES HOBBS in his capacity as ADMINISTRATOR of
SPRINGFIELD NURSING AND REHABILITATION CENTER;                                   DEFENDANTS

                                 * * * * * * * * * * * * *

        Defendants, Springfield Health Facilities, L.P. d/b/a Springfield Nursing and

Rehabilitation Center; Springfield Health Facilities GP, LLC; Kentucky Partners Management,

LLC; Preferred Care of Delaware, Inc.; Preferred Care Partners Management Group, L.P.;

PCPMG, LLC and James Hobbs in his capacity as Administrator of Springfield Nursing and

Rehabilitation Center, through counsel, and for their Notice of Removal from the Washington

Circuit Court to the United States District Court for the Western District of Kentucky, Louisville

Division, state as follows:

        1.     On October 14, 2016, Florence Wilson, through her Daughter and Power of

Attorney Linda Wilson (“Plaintiff”) filed a Complaint in the Washington Circuit Court styled,

Florence Wilson, through her Daughter and Power of Attorney Linda Wilson v. Springfield
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Health Facilities, L.P. d/b/a Springfield Nursing and Rehabilitation Center; Springfield Health

Facilities GP, LLC; Kentucky Partners Management, LLC; Preferred Care of Delaware, Inc.;

Preferred Care Partners Management Group, L.P.; PCPMG, LLC and James Hobbs in his

capacity as Administrator of Springfield Nursing and Rehabilitation Center; Commonwealth of

Kentucky, Washington Circuit Court, Case No. 16-CI-00107.

       2.     The Complaint alleges Defendants, Springfield Health Facilities, L.P. d/b/a

Springfield Nursing and Rehabilitation Center; Springfield Health Facilities GP, LLC; Kentucky

Partners Management, LLC; Preferred Care of Delaware, Inc.; Preferred Care Partners

Management Group, L.P.; PCPMG, LLC and James Hobbs in his capacity as Administrator of

Springfield Nursing and Rehabilitation Center were negligent in their care and treatment of

Florence Wilson. Plaintiffs seek to recover compensatory and punitive damages from

Defendants.

       3.     Defendant James Hobbs, in his capacity as Administrator of Springfield Nursing

and Rehabilitation Center received the Summons and the Complaint on October 18, 2016 by

certified mail at his place of work at Springfield Nursing and Rehabilitation Center. Under Fed.

R. Civ. P. 4(e), Mr. Hobbs was not served at his home, which is in Harrison, Ohio.

       4.     Defendant Kentucky Partners Management, LLC was served with the Summons

and the Complaint on October 19, 2016.

       5.     Defendants Springfield Health Facilities, L.P. d/b/a Springfield Nursing and

Rehabilitation Center and Preferred Care of Delaware, Inc. were served with the Summons and

the Complaint on October 20, 2016.

       6.     Defendants PCPMG, LLC and Preferred Care Partners Management Group, LP

were served with the Summons and the Complaint on October 25, 2016.



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         7.    Defendant Springfield Health Facilities GP, LLC was served with the Summons

and the Complaint on October 31, 2016.

         8.    This Court has jurisdiction to hear this matter pursuant to 28 U.S.C. §1332 based

upon diversity jurisdiction. Upon information and belief, Plaintiffs are residents and citizens of

Bourbon County, Kentucky and Defendants are residents and citizens of Texas and Ohio.

         9.    Springfield Health Facilities, LP d/b/a Springfield Nursing and Rehabilitation

Center, is a foreign limited partnership organized under the laws of the State of Texas, with its

principle place of business at 5420 W. Plano Parkway, Plano, Texas 75093. The limited partner

for Springfield Nursing and Rehabilitation Center, an assumed name for Springfield Health

Facilities, L.P., a foreign limited partnership, is Thomas Scott, a resident of Texas, and the

general partner is Springfield Health Facilities GP, LLC, a Texas limited liability company

organized under the laws of the State of Texas, with its principal place of business in the State of

Texas.

         10.   Springfield Health Facilities GP, LLC is and was at all times mentioned herein a

Texas limited liability company with its principal place of business in Texas, and all of its

members are residents and citizens of Texas.

         11.   Kentucky Partners Management, LLC, is and was at all times mentioned herein a

Texas limited liability company with its principal place of business in Texas, and all of its

members are residents and citizens of Texas. Therefore, Kentucky Partners Management Group,

LLC is a citizen of Texas.

         12.   Preferred Care of Delaware, Inc., is a foreign corporation authorized to transact

business in the Commonwealth of Kentucky as Preferred Care of Delaware, Inc. Preferred Care,

Inc. is and was at all times mentioned herein a Delaware corporation with its principal place of



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business located at 5420 W. Plano Parkway, Plano, Texas 75093. Therefore, Preferred Care, Inc.

is a citizen of Texas.

       13.     Plaintiff, Preferred Care Partners Management Group, LP, is and was at all times

mentioned herein a Texas limited partnership, and all of its partners are residents or citizens of

Texas. Therefore, Preferred Care Partners Management Group, LP is a citizen of Texas.

       14.      PCPMG, LLC is and was at all times mentioned herein a Texas limited liability

company with its principal place of business in Texas, and all of its members are residents and

citizens of Texas.

       15.     James Hobbs is the Administrator at Springfield Nursing and Rehabilitation

Center. He is and was at all times mentioned herein a resident of Harrison, Ohio.

       16.      Thus, the parties are citizens and residents of different states and the requirement

of complete diversity is satisfied. See 28 U.S.C. §1332(a).

       17.     Pursuant to 28 U.S.C. §1441(a), “any civil action brought in a State court of

which the district courts of the United States have original jurisdiction, may be removed by the

defendant or the defendants, to the district court of the United States for the district and division

embracing the place where such action is pending.” The Circuit Court of Washington County,

Kentucky is located within the jurisdiction of the United States District Court for the Western

District of Kentucky, Louisville Division. Therefore, venue is proper in this Court and division

pursuant to 28 U.S.C. §1441(a).

       18.     Based upon the allegations raised in the Complaint attached hereto, this matter in

controversy exceeds $75,000.00 in damages, exclusive of interest and costs.

       19.      Pursuant to 28 U.S.C. §1332(a), this Court has jurisdiction over this action

because it is facially apparent from Plaintiff’s Complaint that Plaintiff is seeking damages in



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excess of the jurisdictional amount in controversy. 28 U.S.C. § 1441(a) provides that “any civil

action brought in state court which the district courts have original jurisdiction may be removed

by the defendant . . . to the district court of the United States for the district embracing the place

where such action is pending. ” Federal District Courts “shall have original jurisdiction of all

civil actions where the matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and cost, and is between . . . citizens of different states.” 28 U.S.C. §1332(a). When

determining whether a case meets the jurisdictional requirement for purposes of removal, courts

should consider “whether it is ‘facially apparent’ from the complaint that the damages are ‘likely

above’ the jurisdictional amount in controversy.” Rotschi v. State Farm, 114 F.3d 1188, 1188

(6th Cir. 1997). Accordingly, the amount in controversy requirement is satisfied. See 28 U.S.C.

§1332(a). Plaintiff seeks compensatory damages and punitive damages as well as costs. Thus, it

is facially apparent that Plaintiff is seeking damages in excess of the jurisdictional amount.

       20.     This Notice of Removal has been filed within thirty (30) days of the date when

the action became removable as required by 28 U.S.C. §1446(b). This Notice of Removal is

further consistent with 28 U.S.C. §1446(b) in that it has been filed within one year after the

commencement date of this action.

       21.     Pursuant to 28 U.S.C. §1446(a), copies of all process, pleadings, and orders

served upon Defendant in the State Court Action are attached to this Notice as Exhibit “A.”

       22.     Pursuant to 28 U.S.C. §1446(d), a copy of this Notice of Removal is being served

upon all parties and a copy is being filed with the Circuit Court of Washington County,

Kentucky.

       23.     Because 28 U.S.C. §1332(a) confers federal subject matter jurisdiction over this

action, removal of this action to this Court is proper pursuant to 28 U.S.C. §1441.



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       WHEREFORE, Defendants Springfield Health Facilities, L.P. d/b/a Springfield Nursing

and Rehabilitation Center; Springfield Health Facilities GP, LLC; Kentucky Partners

Management, LLC; Preferred Care of Delaware, Inc.; Preferred Care Partners Management

Group, L.P.; PCPMG, LLC and James Hobbs in his capacity as Administrator of Springfield

Nursing and Rehabilitation Center, at all times relevant hereto give Notice of the removal of this

action from the Circuit Court of Washington County, Kentucky, to the United States District

Court for the Western District of Kentucky in the Louisville Division.



                                             QUINTAIROS, PRIETO, WOOD & BOYER, P.A.


                                             /s/ Matthew C. Cocanougher
                                             Donald L. Miller, II, Esq.
                                             J. Peter Cassidy, III, Esq.
                                             Matthew C. Cocanougher, Esq.
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                                             859-226-0057
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                                             ATTORNEYS FOR DEFENDANTS




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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 7, 2016, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system. I additionally certify that a true and accurate
copy of the foregoing was served via U.S. mail, first class, postage prepaid, on the 7th day of
November 2016, upon:

Hans G. Poppe, Esq.
Scarlette R. Burton, Esq.
Kirk A. Laughlin, Esq.
Kathleen Coffey, Esq.
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                                           /s/ Matthew C. Cocanougher
                                           ATTORNEY FOR DEFENDANT




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